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                        IN THE UNITED STATES DISTRCT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SUZANNE JONES                                     §
                                                   §
                   Plaintiff,                      §
                                                   §
 v.                                                §   CIVIL ACTION NO. 4:21-CV-733-ALM
                                                   §
 H. NEIL MATKIN, in his personal and               §
 official capacity; TONI JENKINS, in her           §
 personal and official capacity; and               §
 COLLIN COLLEGE                                    §
                                                   §
                  Defendants.                      §

      DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANTS’
        MOTION FOR SUMMARY JUDGMENT ON QUALIFIED IMMUNITY

       Defendants H. Neil Matkin and Toni Jenkins, in their individual capacities, (the “Moving

Defendants”) file the following reply to Plaintiff’s Opposition to Defendants’ Motion for Summary

Judgment on Qualified Immunity [Dkt. 22].

1.     As an initial reply, the Moving Defendants note that Plaintiff Jones “is no longer pursuing”

her due process claims. Dkt. 22, note 1.

2.     Next, Plaintiff’s response repeatedly states that qualified immunity is inappropriate

because it is “clearly established” that public employees may associate with unions and that the

First Amendment protects speaking on matters of public concern. However, this lack of granularity

ignores the Fifth Circuit’s repeated admonition that “to overcome qualified immunity… requires

the plaintiff to ‘identify a case’ – usually a ‘body of relevant case law’ – in which ‘an officer acting

under similar circumstances… was held to have violated the [Constitution.]’” Joseph v. Bartlett,

981 F.3d 319, 330 (5th Cir. 2020) (emphasis added).




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3.       Plaintiff’s response also ignores Vincent v. City of Sulphur, 805 F.3d 543 (5th Cir. 2015).

In Vincent, the Fifth Circuit mandated:

                  Although a case directly on point is not necessary, there must be
                  adequate authority at a sufficiently high level of specificity to put a
                  reasonable official on notice that his conduct is definitively
                  unlawful. [omitting cite] Abstract or general statements of legal
                  principle untethered to analogous or near-analogous facts are not
                  sufficient to establish a right ‘clearly’ in a given context, rather,
                  the inquiry must focus on whether a right is clearly established as to
                  the specific facts of the case. See Brosseau v. Haugen, 543 U.S. 194,
                  198, 125 S.Ct. 596, 160 L.Ed.2d 583 (2004). Therefore, we must
                  decide whether the cases cited by the district court placed beyond
                  reasonable debate the proposition that…

Vincent, 805 F.3d at 547 (emphasis in original and added). See also Cope v. Cogdill, 3 F.4th 198,

204 and n. 4 (5th Cir. 2021) (“We are bound by the restrictive analysis of ‘clearly established’ set

forth in numerous Supreme Court precedents. … Therefore, unless existing precedent ‘squarely

governs’ the conduct at issue, an official will be entitled to qualified immunity.”; “[W]e must

enforce the heightened requirements that the Supreme Court has set forth in its recent qualified

immunity decisions.”) (citing White v. Pauly, 137 S.Ct. 548 (2017); Mullenix v. Luna, 577 U.S. 7

(2015); Brosseau v. Haugen, 543 U.S. 194 (2004)); Morrow v. Meachum, 917 F.3d 870, 874-75

(5th Cir. 2019) (“First, we must frame the constitutional question with specificity and granularity.

For example, it is obviously beyond debate the Fourth Amendment prohibits certain

‘unreasonable…seizures.’ ‘Yet that is not enough.’”) (quoting Saucier v. Katz, 533 U.S. 194, 202

(2001)). See also Joseph, 981 F.3d at 345 (concluding the defendants were entitled to qualified

immunity because the plaintiffs failed to identify an analogous case).1


1
 As an example of a proper qualified immunity inquiry see, e.g., Barra v. Boudreaux, 2020 U.S. Dist. Lexis 62322,
*24 (W.D. La. 2020): “This means that the inquiry here is not whether the general requirement of probable cause for
a warrantless arrest is ‘clearly established.’ Rather, the inquiry is whether it was clearly established that the Fourth
Amendment prohibited Merithew’s conduct ‘in the situation he confronted’ based on controlling or persuasive
authority from other cases.” See also White, 137 S.Ct. at 551-52: “The panel majority misunderstood the ‘clearly

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4.       Regarding her First Amendment free speech claim, Plaintiff’s response acknowledges that

her speech concerned her own “working conditions” and duties in returning as a teacher when the

College re-opened its campuses to some in-person learning in the summer of 2020. See Dkt. 22,

p. 4. Critically, in the Fifth Circuit, “[t]ypically, an employee speaks in furtherance of his personal

employer-employee dispute when he discusses personnel matters directly impacting his job or

criticizes other employees or supervisors’ job performance.” Salge v. Edna Indep. Sch. Dist., 411

F.3d 178, 187 (5th Cir. 2005). See also Moreau v. St. Landry Par. Fire Dist. No. 3, 808 Fed. Appx.

225, 228-29 (5th Cir. 2020); Eubank v. Lockhart Indep. Sch. Dist., 229 F.Supp.3d 552, 568-70

(W.D. Tex. 2017). Such is the case here, where Plaintiff’s speech concerned operational plans

related to her own workplace conditions that affected her own job performance and duties and

such speech was not dissociated with Plaintiff’s role at the college.

5.       Factually, Plaintiffs’ speech involves her criticisms of the college’s operational working

conditions directly relating to her own job performance and duties as a teacher as well as her

criticisms of her superiors’ job performance in the re-opening of the college in the summer of

2020; and to defeat the Moving Defendants’ entitlement to qualified immunity, Plaintiff must

identify a pre-2020 case that is “tethered to analogous or near-analogous facts.” Plaintiff has not

done this in her response. Rather, she instead relies simply on “abstract or general statements of

legal principle untethered to analogous or near analogous facts.” For example, Plaintiff’s response

cites to cases involving complaints regarding nursing care at hospitals and complaints regarding

non-enforcement of city public health code violations for the general proposition that “public

health risks and government management thereof are matters of public concern” (see Dkt. 22, p.



established’ analysis: It failed to identify a case where an officer acting under similar circumstances as Officer White
was held to have violated the Fourth Amendment.”

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22); however, these cases are factually “untethered” to a teacher’s complaint outside of the

college’s shared governance model about operational issues such as in-person instruction as part

of the college’s re-opening. Moreover, the response’s inclusion of two 2020 non-Fifth Circuit

opinions holding that the COVID-19 pandemic is a public concern lacks the granularity required

to defeat the Moving Defendants’ qualified immunity. Summary judgment is therefore proper on

this claim. See Vincent, 805 F.3d at 547.

6.       Turning to Plaintiff’s claim that the Moving Defendants violated clearly established law

by recommending the nonrenewal of her contract due to her association with a union, the

attachments to Plaintiff’s Complaint (which include Defendant Jenkins’ and Defendant Matkin’s

own written statements)2 show that this was not the reason for their recommendations. Dr. Jenkins

was clear that her recommendation for non-renewal was not based on Plaintiff’s association with

the Texas Faculty Association (TFA) – “Professor Jones is welcome to join any external

organization she chooses to join, as is any employee of the college.” Rather, Dr. Jenkins

recommended non-renewal because (despite prior warnings) Plaintiff knowingly allowed Collin

College’s name to be misused by the TFA on its website and on the internet. Dkt. 1-7, Page ID #

99-100. See also Dkt. 1-8, Page ID #132.

7.       When, like here, a public employee alleges that she was terminated in violation of her

constitutional right to associate freely with others, the courts analyze the claim under the approach

announced by the Supreme Court in Pickering v. Board of Education, 391 U.S. 563 (1968).

Critically,

                  It is important to underscore the significance that the latter part of
                  the analysis announced in Pickering plays in qualified immunity
                  cases. Differences in the nature of the competing interests from case

2
 “A copy of a written instrument that is an exhibit to a pleading is part of the pleading for all purposes.” Fed. R. Civ.
P. 10(c).

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               to case make it difficult for a government official to determine, in
               the absence of case law that is very closely analogous, whether the
               balance that he strikes is an appropriate accommodation of the
               competing individual and governmental interests. We must
               remember that government officials are not expected to be prescient
               and are not liable for damages simply because they legitimately but
               mistakenly believed that the balancing of interests tipped in the
               State's favor. … Thus, in such circumstances, the facts of the
               existing caselaw must closely correspond to the contested action
               before the defendant official is subject to liability.

Gregorich v. Lund, 54 F.3d 410, 414-15 (7th Cir. 1995) (emphasis added).

8.     Here, other than citing the general statement of legal principle that “the First Amendment

protects an employee’s right to associate with a union” (see Dkt. 22, p. 18), Plaintiff’s response

does not identify a single case wherein a supervisor who recommended the non-renewal of a

teacher’s expiring contract was held to violate the Constitution when that teacher fails to comply

with the college’s written policy regarding the use of its name despite a prior warning about the

issue. As such, Plaintiff has failed to identify a pre-2020 case that is “tethered to analogous or near

analogous facts” of this case sufficient to defeat the Moving Defendants’ entitlement to qualified

immunity on this claim. There is an “absence of case law that is very closely analogous” or that

“closely correspond[s]” to the facts alleged in Plaintiff’s complaint and its attachments. Summary

judgment is therefore proper on this claim. See Vincent, 805 F.3d at 547.

9.     Plaintiff’s response makes repeated pleas to the Court to allow her to take discovery to

attempt to defeat qualified immunity. However, Plaintiff does not need any discovery to identify

a case with facts “analogous or near analogous” to the facts alleged in her Complaint and its

attachments wherein “an officer acting under similar circumstances was held to have violated the

[Constitution].” Joseph, 981 F.3d at 330.

10.    According to Plaintiff’s response, “Jones is certain that her association with the union was

a motivating factor in the decision of Matkin and Jenkins to terminate her. (Jones Decl. ¶¶ 37, 39).

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Jones also believes that Matkin and Jones communicated about her termination in writing,

specifically through emails and text messages to which Jones does not have access. (Jones Decl. ¶

42).).” Dkt. 22, p. 15, see also pp. 8, 14. However, Plaintiff’s (inadmissible) subjective belief that

the Moving Defendants are purportedly not telling the truth concerning the reasons for their

recommendations and decision3, without more, is insufficient to create a question of fact to defeat

summary judgment on qualified immunity. To the contrary, Plaintiff’s request for discovery from

the Moving Defendants based on her unilateral subjective “belief” that they violated her

constitutional rights contravenes the very essence of qualified immunity.4

11.      Finally, to defeat a summary judgment, the non-movant must come forward with “specific

facts” showing a genuine factual issue for trial. TIG Ins. Co. v. James, 276 F.3d 754, 759 (5th Cir.

2002). Importantly, “[c]onclusional allegations and denials, speculation, improbable inferences,

unsubstantiated assertions, and legalistic argumentation do not adequately substitute for specific

facts showing a genuine issue for trial.” Id.; see also Wallace v. Texas tech Univ., 80 F.3d 1042,

1047 (5th Cir. 1996) (“Neither ‘conclusory allegations’ nor ‘unsubstantiated assertions’ will satisfy

the nonmovant’s burden.”). Moreover, “[p]urported facts based only on subjective beliefs are not

competent summary judgment evidence.” Powell v. Dallas Morning News L.P., 776 F.Supp.2d

240, 280 (N.D. Tex. 2011); see also Crockett v. Humana Behavioral Health, 2019 U.S. Dist. Lexis




3
 See, e.g., Jones Declaration, ¶ 38: “I am certain that Jenkins’s articulated basis for my termination in her March 4,
2021 Response to Complaint is untrue.”
4
  Until the “threshold immunity question is resolved, discovery should not be allowed.” Harlow v. Fitzgerald, 457
U.S. 800, 818 (1982). See also Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (“The basic thrust of the qualified-immunity
doctrine is to free officials from the concerns of litigation, including ‘avoidance of disruptive discovery.’”). As stated
by the Fifth Circuit, “[o]ne of the most salient benefits of qualified immunity is protection from pretrial discovery,
which is costly, time-consuming, and intrusive.” Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012). See also Felder
v. Hobby, 1999 U.S. App. Lexis 39273, * 17 (5th Cir. 1999) (“The defense of qualified immunity protects officials
from not only the costs of trial but also the burdens of discovery.”).

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111996, * 7 (E.D. Tex. 2019) (Mazzant, J.). Still further, hearsay is not admissible evidence. See

Fed. R. Evid. 802.

12.    Here, Plaintiff relies on her self-serving Declaration to attempt to create fact issues to defeat

the Moving Defendants’ entitlement to summary judgment on qualified immunity. However, the

Moving Defendants object to, and move to strike, the following statements in the Declaration of

Suzanne E. Jones [Dkt. 22-1], which are inadmissible and cannot be used to defeat summary

judgment:

            a. The Moving Defendants object to the statement in the second sentence of ¶ 10
               beginning “I felt that…” because this statement is only a subjective belief.

            b. The Moving Defendants object to the statement in ¶ 12 because it contains hearsay.

            c. The Moving Defendants object to the statement in ¶ 15 as conclusory since it
               contains no supporting facts such as dates or the “other faculty members.”

            d. The Moving Defendants object to the statement in ¶ 17 as an inadmissible
               subjective belief.

            e. The Moving Defendants object to the statement in ¶ 21 as speculation, being an
               inadmissible subjective belief, and not based on personal knowledge.

            f. The Moving Defendants object to the statements in ¶¶ 25 and 26 and as conclusory.

            g. The Moving Defendants object to the statement in ¶ 29 as speculation.

            h. The Moving Defendants object to the statements in ¶¶ 37-39 and 41-46 as
               speculation, surmise, being inadmissible subjective beliefs, and not based on
               personal knowledge.

13.    In light of these valid or meritorious objections, Plaintiff’s self-serving Declaration does

not, and cannot, create a fact question sufficient to defeat the Moving Defendants’ entitlement

summary judgment on qualified immunity.




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                                                Respectfully submitted,
                                                ABERNATHY, ROEDER, BOYD &
                                                HULLETT, P.C.

                                                /s/ Richard M. Abernathy
                                                Richard M. Abernathy
                                                State Bar No. 00809500
                                                Charles J. Crawford
                                                State Bar No. 05018900
                                                1700 Redbud Blvd., Suite 300
                                                McKinney, Texas 75069
                                                Telephone: (214) 544-4000
                                                Facsimile: (214) 544-4040
                                                rabernathy@abernathy-law.com
                                                ccrawford@abernathy-law.com

                                                ATTORNEYS FOR DEFENDANTS




                               CERTIFICATE OF SERVICE

        I hereby certify that on March 24th, 2022 a true and correct copy of Defendants’ Reply to
Plaintiff’s Opposition to Defendants’ Motion for Summary Judgment on Qualified Immunity was
served upon all attorneys of record by the Court’s ECF system.

                                                /s/Richard M. Abernathy
                                                Richard M. Abernathy




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